    (15.z:7z2t112 (14:(11.F>I 5152646440                                                                       Q t;01
               Case 2:07-cr-00080-CRW-PAL             Document 311             Filed 05/17/12    Page 1 of 1
                        l
                                            UNITED STATES DIsTRlcT CO URT                                                     i
                                                      D ISTRIC T O F N EVA DA                                                 1
                                                                        -
                                                                            00 0-
                    1
                    1 (JNI7E D STATES olrAM ERICA
                                                            ,       )
                                              Plai                  )
                                                 ntiff,             )
                    ;        vs.

:
                                                                    ) 2:07-?r-080-CRw-PAL,
                                                                    )
                        M ICMAEL JENKINS,                           )       Orderto Unseal
                                                                    )
                                             Defendant.             l
                                                                    )
,                                  saving revjewed the United states'M
                                                                             otion to U nseal, and having beenftlllyadvised
I                       jn the prem ises,
i
I                               l1-IS O RD ERED thatthe Governm ent'
                                                                   s m otion is oranted, and thatDistrictcotlrt

j                   P                                                                 1     '           ,
                         eggy Laen.
j                   j          oAyso;tjljs/b'
                                            hfzncjayojuay gclz.     ,
I
j                                                               .
                                                                ,
                                                                e/?v.
                                                                '
                                                                                   w.-;     ,j     ;p
1                                                           /) -(,.--../w /-'? (.'.
                                                                                  )ooe.'
                                                                                       .,
I                                                         ONI os#AyEsolsm lc atloùs




               l
               àl

               (
               1
               l
               /.

                                                                                                                          l


              l
              J
